                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                   ALBANY DIVISION

UNITED STATES OF AMERICA,


               VS.                                    NO. 1:10-CR-7 (WLS)
                                                      VIOLATION(S): DRUG RELATED
JOE NATHAN MORGAN,


                               Defendant


                                           ORDER
       The above-named defendant this day appeared before the undersigned for an INITIAL
APPEARANCE HEARING pursuant to provisions of Rule 5 of the Federal Rules of Criminal
Procedure. At said hearing, the court determined that the defendant is currently in the custody of
the STATE OF GEORGIA serving a sentence of incarceration, and that release from state custody on
parole or otherwise is not anticipated in the near future. Thus, release from custody in the above-
styled case appears to be a moot issue.
       Accordingly, the court will HOLD IN ABEYANCE any consideration of release of this defendant
from custody in this case under the Bail Reform Act of 1984 until such time as he is released from
custody by the state. Counsel for the government and for the defendant are directed to immediately
advise the court of any such release; in that event, the defendant shall be brought before this court
FORTHWITH for consideration of his release from custody in the above-captioned case under the
Bail Reform Act of 1984. In the meantime, he shall remain in the custody of the U. S. Marshal
pursuant to the writ heretofore issued in this proceeding.
       SO ORDERED, this 15th day of MARCH, 2010.




                                                      CLAUDE W. HICKS, JR.
                                                      UNITED STATES MAGISTRATE JUDGE
